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STATE OF MINNESOTA

COUNTY OF HENNEPIN                         22-mj-140 (DTS)



I, Dennis L. Howe, Jr., being first duly sworn, hereby depose and state as follows:

                  INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of a complaint and application for a warrant

for the arrest of Michael Lee Kurkowski (hereafter Kurkowski) for violations of Title 18,

United States Code, Section 875(c) (threatening interstate communication).

       2.     I am a Special Agent of the Federal Bureau of Investigation (FBI), United

States Department of Justice, and have been since January 2008. I am currently assigned

to the FBI’s Minneapolis Division, Rochester Resident Agency. My current duties involve

investigating a range of federal offenses, including crimes against children, threats, fraud,

and conspiracies to commit those crimes.

       3.     This affidavit is submitted for the limited purpose of establishing probable

cause in support of the attached complaint and arrest warrant, and therefore contains only

a summary of the relevant facts. I have not included each and every fact known by me

concerning the individuals and events described herein. The information contained in this

affidavit is based on my firsthand knowledge, review of records, and information provided

by other law enforcement officers and witnesses.

       4.     Based upon all the facts and information set forth in this affidavit, I believe

that probable cause exists to support that, on and between January 31 and February 4, 2022,
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in the State and District of Minnesota, Michael Lee Kurkowski, has sent threatening

interstate communication in violation of Title 18, United States Code, Section 875.

      5.     Threatening interstate communications, in violation of 18 U.S.C. § 875(c),

includes transmitting in interstate or foreign commerce any communication containing a

threat to injure the person of another. The statutory penalty for violating this offense is

imprisonment for not more than five years.

                                     PROBABLE CAUSE


      6.     On March 8, 2021, victim E.K. (DOB 08/XX/2002), who resides in Upper

Allen Township of Cumberland County, Pennsylvania, reported to the Upper Allen Town-

ship Police Department (UATPD) that an adult male had exchanged nude images with him

when E.K. was under the age of 18. The suspect was identified as Kurkowski, a then-25-

year-old man who lived in Minnesota. The communication and exchange of sexually-ex-

plicit images between E.K. and Kurkowski had been occurring for the past several years.

E.K. had tried to end the online “relationship,” but Kurkowski would not agree to end it.

UATPD reviewed records from E.K.’s cell phone, which included a video link received

from Kurkowski which included a thumbnail image of a naked adult male. After the link

was sent, Kurkowski discussed having sex with E.K. At that time, E.K. was 16 years old.

      7.     On March 22, 2021, Kurkowski was seen at E.K.’s place of employment.

Later that same night, UATPD located Kurkowski at the Hampton Inn located in Camp

Hill, Pennsylvania. UATPD interviewed Kurkowski, and he admitted to coming to Penn-

sylvania to locate E.K. and to try to continue a relationship. Kurkowski knew E.K.’s date
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of birth, and admitted to communicating with E.K. since E.K. was 15 years old. Kurkowski

admitted to sending pornographic images and videos to E.K. when E.K. was under the age

of 18. Kurkowski also admitted to receiving sexually-explicit images and videos of E.K.

when E.K. was under the age of 18.

      8.      On March 23, 2021, UATPD conducted a second interview with Kurkowski.

During the interview, Kurkowski allowed UATPD investigators to view his iPod photo-

graphs. UATPD found a video from June 29, 2020 which showed a penis being mastur-

bated. Kurkowski recognized the video and confirmed that it was a video of E.K. At that

time, the iPod was seized pending the application of a search warrant. UATPD obtained a

search warrant, and the iPod contents were downloaded, including the contraband video

from June 29, 2020. UATPD also spoke to E.K. and confirmed that E.K. sent the June

2020 video. Therefore, Kurkowski possessed a sexually-explicit video of E.K. masturbat-

ing, at a time when Kurkowski knew E.K. was under the age of 18.

      9.      Based on the facts learned in the investigation, Kurkowski was charged with

violations of the Pennsylvania (PA) Crimes Code. Kurkowski was arrested on April 14,

2021 and charged with felony child pornography, dissemination of sexually explicit mate-

rial to minors, communication with minors-sexual abuse and criminal use of a communi-

cation facility, as well as misdemeanor corruption of minors. Kurkowski was extradited to

Pennsylvania from Minnesota for the prosecution of the case.

      10.      On January 22, 2022, Kurkowski signed a document acknowledging his

Cumberland County adult probation conditions. Kurkowski’s conditions include: (a) re-

maining on good behavior and refraining from behavior which may present a danger to
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yourself or others; (b) submitting to a search of your person, vehicle, residence, or lodging

with or without a warrant; and (c) not possessing any weapons in your residence, vehicle,

or person while on active supervision. Kurkowski was also required to register as a sex

offender.

         11.      On December 31, 2021, East Peoria Police Department (EPPD) in Peoria,

Illinois received a tip submitted from an adult woman named Rachel Sxxxxxxxx1 (hereafter

“Rachel”). Rachel had recently been granted custody of her 16-year-old nephew F.S. Ra-

chel said F.S. had been communicating with an adult male over the internet and sending

photographs of a sexual nature to the male. The male identified himself as Michael

Kurkowski from Minnesota. Rachel said F.S. previously lived in Iowa and had been com-

municating online with Kurkowski prior to moving to Illinois. Rachel explained that F.S.

had told her that one of his friends, a 13-year-old boy referred to as “Dexter” in Iowa, had

also been in communication with Kurkowski and had sent naked photographs of himself

to Kurkowski at Kurkowski’s request.

         12.      Rachel recently discovered photos of F.S.—some were shirtless and some of

F.S.’s buttocks that were sent to Kurkowski at number (507) 363-0354. (I know that the

507 area code is associated with the southern fifth of Minnesota.) Rachel and F.S. told

EPPD that Kurkowski used an “app” where he could change his telephone number and text

from other numbers as well. Rachel preserved the photos and communication in case it

were later to get deleted.


1
 The last name of Rachel is known to me. I am not including it in this affidavit because it is the last name of minor
victim F.S. and want to protect disclosure of his identity under 18 U.S.C. § 3509 and Local Rule 49.1.
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       13.      Rachel reported that Kurkowski had texted F.S. that he was going to kill his

previous victim and the victim’s family for ruining his life and turning him in to the au-

thorities.    EPPD investigators learned through open source searches that Kurkowski had

been charged with a similar crime in Pennsylvania. EPPD investigators contacted Rachel

and asked her to send a photograph of the person F.S. had identified as Kurkowski if she

had one.

       14.      On January 2, 2022, EPPD investigators received an email from Rachel. The

email contained photographs which identified the male F.S. was communicating with as

the same Kurkowski who had been charged with child pornography in Pennsylvania. Ra-

chel also included several messages from Kurkowski to F.S. describing his plan to travel

to Pennsylvania where Kurkowski would murder the parents of his victim, rape his sister,

and then kill her in front of his former victim. Various social media platforms, including

Snapchat, text messages, iMessages, FaceTime, and Grindr were used during the course of

communication between F.S. and Kurkowski. All social media platforms referenced above

use an internet connection. Some, if not all of the communications referenced above and

hereafter are believed to have taken place while Kurkowski was in Minnesota, and the

victims Kurkowski was communicating with were in Pennsylvania, Illinois, and Iowa.

Therefore, based on my training and experience, I believe the internet was used by Kurkow-

ski to communicate and through the use of an Apple device.

       15.      On January 4, 2022 EPPD investigators reviewed the information and iden-

tified messages of concern in F.S.’s phone from the contact “Michael.” In the messages,

Kurkowski gave F.S. a very descriptive explanation about how he wanted to “murder” his
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ex-boyfriend “Ethan.” Kurkowski wanted to use F.S. to lure Ethan’s sister out of their

house, and Kurkowski would then use the sister to gain entry. Kurkowski would then kill

“Ethan” and his family in various tortured ways. (See Attachment A, incorporated here by

reference, for snapshots Rachel provided of the threatening interstate communication F.S.

received from Kurkowski.) Rachel was concerned the messages would be deleted from

social media platforms being used such as Snapchat, iMessage, and text messages and

wanted to preserve the evidence.       EPPD investigators contacted UATPD regarding

Kurkowski.

         16.     UATPD investigators confirmed that Kurkowski had been arrested in early

2021 for the online sexual exploitation of E.K. from the time E.K. was approximately 14

through 18 years old. EPPD investigators learned that Kurkowski and E.K. had traded

sexually explicit photographs during that timeframe, and Kurkowski was later found to be

in possession of sexually-explicit photographs of E.K. from when E.K. was under the age

of 18.

         17.     On January 5, 2022, EPPD interviewed F.S. regarding his communication

with Kurkowski. F.S. said he initially met Kurkowski after creating an account on Grindr

in early Fall 2021. Initially F.S. told Kurkowski that he was 18 years old, but after two

weeks of communication, F.S. told Kurkowski he was really only 16. F.S. said Kurkowski

did not care that he was a minor and Kurkowski actually became more “sexually forward”

with F.S. after learning his true age. Kurkowski told F.S. that he needed to register as a

sex offender because of a relationship he had with a boy in Pennsylvania named E.K.

Kurkowski had “dated” E.K. when he was 13 years old. F.S. and Kurkowski eventually
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transitioned their communication to Snapchat and FaceTime, and F.S. deleted his Grindr

account. F.S. said he never met Kurkowski face to face, but they regularly engaged in

sexual conversations and would also send each other “nudes” online. Kurkowski once

talked about saving all of F.S.’s nudes to a server he had on his personal computer. Beyond

their sexually-explicit conversations, Kurkowski told F.S. about going to Pennsylvania to

kill E.K. and his family. Kurkowski’s level of detail about the plan startled F.S., and he

began feeling like Kurkowski might actually follow through with it. F.S. then decided to

reach out to E.K. to warn him about Kurkowski’s threats. F.S. eventually realized Kurkow-

ski was “toxic” and a “psychopath.” F.S. blocked Kurkowski on social media.

      18.     On January 11, 2022, EPPD contacted Cedar Falls (Iowa) Police Department

(CFPD) informing them of a juvenile boy in their jurisdiction who was communicating

online with an adult male. The EPPD identified the boy as D.F. CFPD investigators deter-

mined D.F. was 13 years old and that he was communicating online with Kurkowski.

      19.     On January 12, 2022, CFPD investigators met with D.F.’s father. After ad-

vising D.F.’s father that it was likely D.F. was communicating with an adult male online,

D.F.’s father provided CFPD investigators with consent to search two cellular telephones:

one was D.F.’s current phone and the other was D.F.’s old phone. CFPD investigators

reviewed the phones and observed sexually-explicit photos and videos of D.F. on his cell

phone. CFPD investigators observed two specific sexually-explicit videos on D.F.’s old

cell phone of D.F.’s penis and buttocks. CFPD investigator also located conversations

between D.F. and Kurkowski.
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       20.     On January 18, 2022, D.F. was forensically interviewed at the Allen Child

Protection Center. D.F. described an incident where Kurkowski asked him to show him

his “ass.” D.F. reported sending Kurkowski a naked photo of himself. D.F. explained that

Kurkowski made him feel like he had to send the picture. D.F. also received pictures of

Kurkowski that been sent via text message.

       21.     On February 4, 2022, Owatonna (Minnesota) Police Department (OPD) re-

sponded to the residence of Fran Kurkowski (hereafter Fran) regarding a threats complaint

involving Kurkowski. Fran is Kurkowski’s grandmother, and she has allowed Kurkowski

to live in her home while he is on probation. Fran provided information regarding Kurkow-

ski’s Pennsylvania conviction and an order of protection out of Illinois that had been served

recently on Kurkowski. Fran told OPD investigators that Kurkowski has made statements

about wanting to kill his prior boyfriends and their families. Fran said on February 3, 2022,

she drove Kurkowski to the bus stop at the Owatonna Burger King. Fran thought that

Kurkowski was going to New Prague/Savage/Shakopee. Fran said she was told by her

granddaughter Michaela Kurkowski (hereafter Michaela) that Kurkowski was on his way

to Pennsylvania to kill his ex-boyfriend and his family. Fran told OPD investigators that

she used to have rifles in the house but that her son removed the firearms when Kurkowski

returned to Minnesota in late October 2021.

       22.     OPD spoke with Michaela regarding her brother Kurkowski and his plans.

Michaela said Kurkowski previously discussed a plan to hurt his ex-boyfriend in Pennsyl-

vania. Michaela believed that Kurkowski was currently stuck in Chicago due to weather

and was going to reach out to another ex-boyfriend in East Peoria. Michaela believes that
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Kurkowski is capable of harm. When Kurkowski was in jail, he sent a letter in which he

plotted revenge. Kurkowski was trying to make Michaela believe that he was in the Twin

Cities getting stoned and enjoying his weekend.

       23.     OPD contacted Greyhound and learned that Kurkowski had purchased a

ticket to Harrisburg, Pennsylvania. An FBI Cellular Analysis Survey Team (CAST) mem-

ber assisted OPD investigators to obtain cell phone records/pings to determine the location

of Kurkowski’s cell phone. The first ping came in at approximately 8:30 a.m. (Pacific

Standard Time) on February 4, 2022, and showed Kurkowski’s device located at the Gene

Stratton Travel Plaza in Indiana. FBI CAST provided additional ping updates that showed

Kurkowski’s device continuing eastward. OPD Investigators then determined the next

Greyhound stop to be in Toledo, Ohio.

       24.     Authorities took Kurkowski into custody at the Greyhound stop in Toledo.

The following items were found in Kurkowski’s bag: Zip ties (16 heavy flex cuffs); elec-

trical tape; a bottle of lubrication; a taser; a large knife; rubber gloves; hooded facemasks;

an iPhone SE; personal clothing including t-shirts, sweats, and a change of clothes; approx-

imately $69 in cash; and credit cards. They also found a hand-written list of individual

names. I believe these to be other individuals Kurkowski may intend to threaten or harm.

       25.     Kurkowski admitted to FBI agents in Ohio that he intended to travel to Upper

Allen, Pennsylvania with the intent to go to E.K.’s residence. Kurkowski told agents he

has had thoughts to harm E.K. and his family but was unsure if he would actually carry out

those thoughts. Kurkowski told agents he felt E.K. betrayed him by breaking up with him
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    AttachmentA
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